Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 1 of 42 PagelD: 230

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

REPUBLIC GROUP, LLC, MBE CAPITAL
PARTNERS, LLC, RAFAEL MARTINEZ,
CHELSEA MARTINEZ AND REACHING
NEW HEIGHTS, CORP.,

Plaintiffs,

Vv.

BANK OF AMERICA, N.A. AND MERRILL,
LYNCH, A BANK OF AMERICA
COMPANY, JOHN DOES 1-10 AND ABC
CORP. 1-10 (BEING FICTITIOUS NAMES),

Defendants.

 

 

Civil Action No. 2:20-cv-12081-SDW-LDW

 

PLAINTIFFS MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS
MOTION TO DISMISS COMPLAINT

 

LAW OFFICES OF SHANNON GARRAHAN, P.C.

2 FOREST AVENUE-SECOND FLOOR
ORADELL, NEW JERSEY 07649

(201) 909-0700

Facsimile: (201) 909-5110

Attorney for Plaintiffs

Phone:

ON THE BRIEF:
Shannon Garrahan, Esq.
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 2 of 42 PagelID: 231

 

TABLE OF CONTENTS
Page Number

TABLE OF AUTHORITIES... eee ceeeseeseeseetecseeeseeeeeeseeeeneeeseeeee ili-vi
INTRODUCTION... cece ecceseesscesecseceeessecnseesessessesesecseseseeseeeseseeeeens 1
PROCEDURAL HISTOR Y.....-scssossasasnovssnonsesnsshsasasunsnss sessnsincasnezenn aaa 3
JURISDICTION pisssviscssoncamnannsnacenvovennncsnasenmisnsnavennnncommennmmsrcen 4
COUNTER-STATEMENT OF FACTS... cecccecesseseeesecseeeseeeeeeeeeees +
STANDARD OF REVIEW FOR A MOTION TO DISMISS
PURSUANT TO RULE 12(6)(6)...... cc ceeeseeseeseseeeeeeseeseessesseesseeseeeeeeaes 8
LEGAL ARGUMENT. ......ccceecceseessceseesecsseeseesseessesecseeesecseessessesseseseeeaeess 11
POINT I:

THE PLAINTIFF’S COMPLAINT ADEQUATELY SETS

FORTH ALL OF THE ELEMENTS REQUIRED

BY 42 USC § 1981 AND THE DISCRIMINATION

CLAIM SHOULD NOT BE DISMISSED sicsosccscrsennconarermnacersasnantervoneanseseres 11

A. HISTORY OF 42 U.S.C. § 1981 ...............sassensassansccesssaaus 11

B. PLAINTIFFS HAVE SATISFIED THE PLEADING
REQUIREMENTS IN ORDER TO SURVIVE A 12
(b)(6) MOTION TO DISMISS SINCE THE WELL
PLEADED FACTS IN THE COMPLAINT ARE
SUFFICIENTLY DETAILED TO STATE A
CLAIM FOR DISCRIMINATION PURSUANT TO
AQ US Ge 'S 198 Iss ssscesecssxevenisaaamsansernmevenanmcaxessonesscxvascearns 17

POINT II:

PLAINTIFFS HAVE SATISFIED THE PLEADING

REQUIREMENTS IN ORDER TO SURVIVE A 12(b)(6)

MOTION TO DISMISS SINCE THE WELL PLEADED

FACTS IN THE COMPLAINT ARE SUFFICIENTLY

DETAILED TO STATE A CLAIM UNDER THE NEW

JERSEY LAW AGAINST DISCRIMINATION iscssssesncasansseranvocsseevescorennies 21
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 3 of 42 PagelD: 232

TABLE OF CONTENTS
Page Number

POINT III:

PLAINTIFFS HAVE SATISFIED THE PLEADING
REQUIREMENTS IN ORDER TO SURVIVE A 12(b)(6)
MOTION TO DISMISS SINCE THE WELL PLEADED
FACTS IN THE COMPLAINT ARE SUFFICIENTLY
DETAILED TO STATE A CLAIM FOR RETALIATION

UNDER, 42 U.S.C, § 198 L....ccrsensoeoressscrennnsssuvsnsasneibaeenansteritanaeennenaeensinacenas 24
POINT IV:

THE PLAINTIFFS HAVE ADEQUATELY PLEADED

A CLAIM FOR BREACH OF CONTRACT...........cccssssssssstssnesnseneeeneteenes 31
POINT V:

THE PLAINTIFFS CONSENT TO THE VOLUNTARY

DISMISSAL OF COUNT FOUR OF THE COMPLAINT

AND SHOULD BE PERMITTED TO AMEND THE

COMPLAINT TO CONFORM WITH THE

PLEADING REQUIREMENT AS NECESSARY ....:sscsscserersssoresessererereeee 34

CONCLUSION si cssoncconncassrssoncvenvancemsnewseveconseenseaggrnenermmeseesesvensseneonennnnsassoinis be)

-ii-
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 4 of 42 PagelID: 233

 

 

TABLE OF AUTHORITIES
CASES Page
Amoco Prod. Co. v. Heimann, 904 F.2d 1405 (10th Cir.1990)......seeeeeseeeeeeeeeees 33
Andrews v. City of Philadelphia, 895 F.2d 1469 (3d Cir. 1990)......::sesseesesseseseeeee 31
Arguello v. Conoco, Inc., 330 F.3d 355 (Sth Cir. 2003) ....sesessessseeseseeseeseernenenseensens 16
Ashcroft v. Igbal, 556 U.S. 662 (2009)......sssccssessscerereeeeenerersesssessssessensneeesseneneenenees 9
Baldwin County Welcome Center v. Brown, 466 U.S. 14 7..ccccceeceeretetetessesesesssenens 8
Barber v. CSX Distribution Services, 68 F.3d 694 (3d Cir. 1995).....cccceseseereeeeees 26
Bell Atlantie v. Twombly, 550 U.S. 554 (2007) cccccocencrnesonvevsersarespereraceesenseanaennsttenais 9
Bergen Commercial Bank v. Sisler, 157 N.J. 188 (1999)....ccccceseseceseseseeteneeeeeneeeenes 23
Bogosian v. Gulf Oil Corp. 562 F.2d. 434 (3 Cit. 197 Dsvicssevseansssssvenvsssvtsonenenencnns 8
Boyer-Liberto v. Fontainebleau Corp., 786 F.3d 264
(4th Cir, 2015) (GH Baie) ss sa cesccscesnsssnersacnsnanosvenanecnaneenenannesimomnnaaenarensmmsneraeeneexnnns 20
Brown v. Phillip Morris, Inc., 250 F3d 789 (3rd Cir. 2001)... ceeseeseeseeseeesseeeeeeee 12,17
Brunswick Hills Raquet Club, Inc. v. Route 18 Shopping Center Assoc.,
182. N.J. 210 (2005). voce eeceeecssssscsessceeescssessessessssscsecsecsscssssesssssssssessssssseseesesseseeeeeeers 32
Callwood v. Dave & Buster's, Inc., 98 F. Supp. 2d 694 (D. Md. 2000)... 16
CBOCS West, Inc. V. Humphries, 553 U.S. 442 (2008) vscccsserccasnscrsnsaecosnevavavvsanesssnnes 26-27
Cardenas v. Massey, 269 F.3d 251 (3d Cir. 2001)... .ceeeceeccesseeeseeeseeeneeesseeeseeeseeees 24-25
Conley v. Gibson, 355 U.S. 41 (1957) ...cccscccsssccsccseseceeseeceesecseeecseaeesesesesseeseneeeeseees 10
Crawford v. Metre Gov't of Nashville & Davidson Cnty Tenn.,
555 U.S. 271 (2009)... eeeeeeseesecseceeceeecsececsecseeeceeeceseaseecsecsesaeeseessseeseeeeseeseeseeses 25-26
Curay-Cramer v. Ursuline Academy, 450 F.3d 130 (3d Cir. 2006)............eeeeeeneeeee 26

-iii-
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 5 of 42 PagelD: 234

TABLE OF AUTHORITIES
CASES Page

 

D.P. Enter. Inc. v. Bucks County Community College, 725 F.2d 943

(Bd Cir. 1984)... eessssssssssssssssssssssssssssseesesscsencneneneacnensensnsessceussssssaeeceresseneesssenensonees 9

EEOC vy. Crown Zellerbach Corp., 720 F.2d 1008 (9th Cir. 1983).....:ceeseeereeeees 26
Estate of Oliva ex.rel. McHugh v. New Jersey, 604 F.3d 788

(B™ Cit. 2010). cesses vesssesnssasccnancnsasssenceevarsvesenenvemeaneaneneneancemanesnnernsnarereseeennnonesbaveibiaves 16,17,24-25
Evancho vy. Fisher, 423 F.3d 347 (3% Cir. 2005).....cscsssscecscecssssssseseseseseseseseseseeeeeenenes 8
Fletcher-Harlee Corp. v. Pote Concrete Contractors, Inc. 482 F.3d 251

(3° Cire, 2007)... srranusneusesuecenesnensnanensenisnnennesrenretncnenseoneveonuseannonaushisiisnseascs4 sain ARI 34-35
Franek v. Tomahwk Lake Resort, 333 N.J. Super. 206

(App. Div. 2000) ronererossersnteeseerersntsonssvessenssetescanssnsororssononsenacovansencsadissnshesat¥iessneueenrniians 2,
Garret v. Tandy Corp., 295 F.3d 94 (18t Cit. 2002) sccssernancanceencasnansavsvensssesencencnnees 11,12,16
Hampton v. Dillard Dept. Stores, Inc., 247 F.3d 1091 (10th Cir. 2001)... cess 15
Hawkins v. 1115 Legal Serv. Care, 163 F.3d 684 (2d Cir. 1998)......ccsseseeeseeeneeees 27
Hedges v. U.S., 404 F.3d 74 (3 Cir, 2005)...c.ccscsscscssssesssesessesesesseseseseensseseeneeseeeeeeees 10
Hughes v. T.D. Bank, N.A. 856 F.Supp.2d 673 (D.N.J. 2012).....cseeseseeseeseesseeseeeee 33

In re Burlington Coat Factory Secs. Litig., 114 F.3d 1410

(3d Cir, 1997)... ce eecescssscseeeecseeeseceseesessscesecseessseecesecaeeaeceaecaeeseeeaeeneeeaesseeasessenesessees 10

In re Checking Account Overdraft Litigation, 694 F.Supp.2d 1302

(S.D.F1a.2010) oe eeeeessseeseeeseesceseesesecseceecescesceeseeaeeaeeaeeaeeseeeeeeseeeeaseaseeeseeseeeeeeseees 33
Jones v. Alfred H. Mayer Co., 392 U.S. 409 (1968)......cccccccccssssesssssssssssscceceeceeeeeeeees 11-13

Jordan v. Fox, Rothschild, O'Brien & Frankel, 20 F.3d 1250
(3'4 Cir, 1994)... ceccecccccccsscssccssccssccsececcsscesecessvscessccascesscusesscesscesecsucsseesseeseeseees 9, 10-11

“lV
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 6 of 42 PagelD: 235

L.W. v. Toms River Reg. School Bd., 381 N.J.Super. 465

 

 

(App. Div. 2005).......csccccccsseseseeseneeeteesetenseteesessssssessesesesseseneensnecaenasasseesssesasegses 22-23
Lehman v. Toys R Us, Inc., 132 N.J. 587 (1993)...ccccessseeseseesseeseeseeseeseeeeeennens 22
TABLE OF AUTHORITIES
CASES Page
Mahone v. Waddle, 564 F.2d 1018 (3d Cir. 1977).....ccccccssseeesreeessteeeeseeeerseeennees 12
Moore v. City of Philadelphia, 461 F. 3d 331 (3d Cir. 2006).......:sseseeeseeeres 24-25,27,31
Morse v. Lower Merion School District, 132 F.3d 902 (3rd Cir. 1997)... 8,9
Patterson v. McLean Credit Union, 491 U.S. 164 (1989).......ccccccceeeseeeeestereeees 13-16
Payton v. New Jersey Turnpike Authority, 148 N.J. 524 (1997).....:sseseseeeeees De
Philips v. County of Allegheny, 515 F.3d. 224 (3% Cir. 2008)......:cscccseseeseesees 10
Quiroga v. Hasbro, Inc., 934 F.2d 497 (3d Cir. 1991)... eeeeeessssesseeeeeeeetereeeees 25
Rivers v. Roadway Express, ING, 511 U.S. 298 (1994) scnsmenwccvercrecnseerreennenes 16
Runyon v. McCrary, 427 U.S.160 (1976) ..ccsesimecesernrnroresorernerennaneenasesrancnnnnsaiinis 13
Scheuer v. Rhoades, 416 U.S. 232 (1974)... .ececeeeccccccsceeeeeeeeeeeseeeseeeeeseeeeeeaeeea 9
Shaw v. Dig: Equip. Corp. 82 F .3d.1194 (18t Cir. 1996) cecsrscsousseencensvasserecennen 10
Seidenberg v. Summit Bank, 348 N.J. Super. 243 (App.Div. 2002)... 32
Sons of Thunder v. Borden, Inc., 148 NJ. 396 (1997) cccciscsssssscnsasosvvvncessavennnnes 31
Sumner vy. United States Postal Service, 899 F.2d 203 (2d Cir. 1990)...........6 26
Swierkiewicz v. Sorema, N.A., 534 U.S. 506 (2002)..........cccccceecccceeeeeceeeeeenaeees 21
Turner v. Wong, 363 N.J. Super. 186 (App. Div. 2003).......... cc ceeeeeeeeeeeeeeeeeeeeeee 22-24
Waddell v. Small Tube Prod. Inc., 799 F.2d 69, 73 (3d Cir. 1986).......:::ccceeeees 25
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 7 of 42 PagelD: 236

 

 

STATUTES

AD WLS.C. § 1981 cccwesssnecuenssnsesonumnnnenvenen serene onnsunsinacbunaunayexevesaeneeemenenseenewes 1,4,11-17,21
24-31

TABLE OF AUTHORITIES

STATUTES Page

2B U.S.C. § 133 Livccccecccsccscesscessessscsseeseseseenseseesecsaeesseeseessesseeseesseeesenseenaeeeeeees +

2B U.S.C. § 1367.....ccccssccrccsressscsssessscsssnceoscessnsnsssaserssesesoscessonscesscessnsssnnesssesees +

DTS An TOSSA ccs cascancan.caezeszsanemnnenarexsannunnaniemercnenecyrrensnenanekeidslta a smc 1, 21-23

COURT RULES

Fed. R. Civ. P. 8(A)(2)rercrsecrvncennrenenencsnnnnnnonsinhsainsts shsausavenssascenenanengeatanesennsenvenerrrenss 8

Fed. RL Civ P. 12 (B) (QV csssssssaroxescceerrsaxcxoncenancensmeremesnencemmentecensverreenanerannnnestits 1,4,8,9,17,
21,24,33

SECONDARY SOURCES

23 Williston on Contracts § 63:22 (4th ed)... eceeeeeeeeeeeeeseteeeeeeeeeeeeeenes 33

-vi-
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 8 of 42 PagelD: 237

INTRODUCTION

The plaintiffs, Republic Group, LLC (Hereinafter referred to
as “Republic”), MBE Capital Partners, LLC (Hereinafter referred
to as “MBE”), Rafael Martinez and Chelsea Martinez filed a
Complaint on August 31, 2020, alleging defendants Bank of
America, NA and Merrill Lynch, a Bank of America Company
(hereinafter collectively referred to as “BofA”) discriminated
and acted in a retaliatory manner toward the defendant’s based
upon their race and national origin in violation of 42 U.S.C. §
1981 (“§ 1981") and N.J.S.A. 10:5-1, et.al., The New Jersey Law
Against Discrimination (“NJLAD”) as well claims for breach of
contract.

BofA has filed the within motion to dismiss the Complaint
asserting the defendants have failed to state a claim under which
relief can be granted pursuant to Rule 12(b) (6) of the Federal
Rules of Civil Procedure.

As set forth in the Complaint, Republic and MBE are minority
owned Limited Liability Corporations. Rafael Martinez is a black
man of Dominican descent and Chelsea Martinez is the daughter of
Rafael being a black woman of Dominican descent. Rafael and
Chelsea are accordingly members of a protected class within the
meaning of 42 U.S.C. § 1981, and the New Jersey Law Against
Discrimination, N.J.S.A. 10:5-1, et seq.

Briefly, in May 2020 MBE and Republic were granted authority
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 9 of 42 PagelD: 238

by the Small Business Association to distribute funds pursuant to
the Paycheck Protection Program which was created under the CARES
Act in an effort to assist minority businesses and individuals
during the COVID crisis. Plaintiff issued a check to a minority
client who was black. The check was tendered by the client in an
effort to cash the check at a Bank of America branch. The
client reported to Rafael Martinez that he was humiliated and
disgraced and denied access to the funds which were available in
Republics BofA account. Thereafter a telephone conference to
determine the source of the problem was held between
representatives of BofA along with Martinez and the CEO of
Republic and Martinez, Carra Wallace, a black woman. During
this conference call Rafael and Martinez and Carra Wallace
explained that MBE was granted authority by the SBA to disburse
PPP Loans as a non financial institution PPP Lender. BofA was
advised that the funds in the account were earmarked for minority
owned businesses who had previously been unable to obtain PPP
loans through financial lending institutions. BofA requested
the funds be removed from the account claiming “it was unable to
support Republic’s efforts to participate in the PPP program”.
The plaintiffs complied and transferred the funds to another

banking institution and successfully distributed 100,000,000 to
minority and women owned businesses and individuals in accordance

with the PPP program.
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 10 of 42 PagelD: 239

On August 10, 2020, more than a month after the PPP funds were
transferred from the BofA account, BofA sent notice to the
defendants that their accounts would be restricted from use in 21
days and permanently closed 30 days after. These notices were sent
to Rafael Martinez for his personal account, Reaching New Heights,
a NJ Nonprofit Corporation, and Republic as well as Chelsea
Martinez’s personal account with Merrill.

Contrary to the assertions set forth in the defendant’s
memorandum, at no time were Rafael Martinez, Chelsea Martinez or
Reaching New Heights advised that their account was under review
or there was any issue with their use of the accounts. The only
issue raised by BofA regarding the Republic account was that BofA
did not wish to participate as an intermediary in Republic’s
distribution of PPP loans to minority businesses and individuals.
The funds were removed from the BofA account after reconciliation
and no further issues were raised by BofA until they sent notices
of intent to limit access and close the accounts. There was
never any investigation or ‘due diligence’ inquiry into the
accounts of Rafael Martinez, Chelsea Martinez or Reaching New
Heights.

PROCEDURAL HISTORY

On August 31, 2020, Plaintiffs filed a Complaint in the

United States District Court for the District of New Jersey.

On November 9, 2020, the defendants filed the within Motion
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 11 of 42 PagelD: 240

to Dismiss pursuant to R. 12 (b) (6) of the Federal Rules of Civil
Procedure in lieu of Answer based upon the purported failure to
state a claim upon which relief can be granted.

The defendants submit that the facts, as pled, sufficiently
set forth causes action for Discrimination and Retaliation in
violation of 18 U.S.C. § 1981, the New Jersey Law Against
Discrimination as well as claims for breach of Contract.

JURISDICTION

This Court has jurisdiction over the plaintiff’s federal
claims pursuant to 28 U.S.C. § 1331, and supplemental
jurisdiction over plaintiff’s state law claims under 28 U.S.C. §&
1367.

COUNTER-STATEMENT OF FACTS

Plaintiff, Rafael Martinez, is a black man of Dominican
descent. Plaintiff, Chelsea Martinez is a black woman of
Dominican descent and the daughter of Rafael Martinez. Rafael
Martinez formed MBE Capital Partners, LLC doing business as and
and a Division of Republic Group, LLC for the business purpose of
providing cash flow, loans and investment opportunities to small
and diverse minority businesses and individuals. Rafael and
Chelsea formed Reaching New Heights, a non profit corporation.
Rafael, Republic and Reaching New Heights maintained accounts
with Bank of America until August 2020 when the accounts were

closed by the defendant. Chelsea maintained an account with
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 12 of 42 PagelD: 241

Merrill until September 2020 when the account was closed by
Merrill.

Republic opened a business account with BofA on February 7,
2018. (See Declaration of Chris Yucas € 6). There were no
issues with the use of the business account until May 2020 when
$ 100,000,000 was transferred into the Republic business account
at BofA and Republic and MBE began disbursing millions of
dollars. (See Comp. € 25). Republic and MBE began
distributing funds to small, diverse, minority and woman owned
businesses in May 2020.

On May 20, 2020, Republic and MBE received a complaint froma
client who is a black man. The client presented a check at a BofA
branch which was issued from the Republic account. BofA refused to
honor the check and instead degraded and humiliated the client
claiming the check was fraudulent. (See Comp. € 29).

The same day BofA notified Rafael Martinez that the Republica
business account had been frozen pending investigation and due
diligence. (See Comp. € 30). The obvious result of BofA
freezing the business account was that the PPP loans which had
been disbursed to small, diverse, woman and minority owned
businesses were unpaid and declined by BofA despite sufficient
funds being in the account. (See Comp. € 35 & 36).

A telephone conference was held with BofA representatives

and Rafael Martinez and Republic CFO, Carra Wallace in an attempt
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 13 of 42 PagelID: 242

to rectify the purported issues. (See Comp. € 31). During the
conversation it was explained to BofA that MBE is a minority
owned and operated business that been by approved as a non-
financial institution by the Small Business Administration for
the purpose of providing PPP Loans to minority owned small
businesses and individuals. (See Comp. € 32 & 33 ). BofA
claimed they did not want to act an intermediary for minority
loans and requested the funds be removed from the Republic
Account. (See Comp. € 35 & 36).

Republic complied, transferred the PPP funds in May/early
June and Rafael Martinez forwarded an e-mail to BofA indicating
that he understood BofA’s perceived issues but wished to maintain
his personal, business and family accounts with BofA, including
the Republic Account. (See Comp. € 37). MBE subsequently funded
PPP Loans through another banking institution and the program was
a success distributing $ 100,000,000 in PPP Loans to a
historically under-represented group of minority owned businesses
and individuals. (See Comp. € 38).

On August 10, 2020, more than sixty days after the PPP funds
had been transferred from the BofA account, BofA forwarded notice
to Republic that its business account with BofA would be
restricted in 21 days and closed in 30 days. (See Comp. € 45 and
Exhibit B annexed to the Certification of Rafael Martinez).

On August 10, 2020, BofA forwarded notice to Rafael Martinez
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 14 of 42 PagelD: 243

that his personal bank account would be restricted in twenty one
days and closed in thirty days. (See Comp. € 43 and Exhibit A
annexed to the Certification of Rafael Martinez).

On August 3, 2020, Chelsea Martinez received a letter from
defendant, Merrill, a Bank of America Company, that her account
was being closed in thirty days. (See Comp. € 41 and Exhibit A
of Chelsea Martinez Certification).

Chelsea Martinez and Rafael Martinez are Officers of Reaching
New Heights, a non-profit corporation. (See Comp. € 44). On
August 10, 2020, BofA forwarded notice to Reaching New Heights that
its account would be restricted from use in 21 days and closed in
30 days. (See Comp. € 44 and Exhibit B annexed to Chelsea Martinez
Certification).

Based on the facts stated above and as more fully set forth
in the Plaintiff's Complaint, Republic, MBE, Rafael Martinez,
Chelsea Martinez and Reaching New Heights avers that they
were the victim of racial retaliation, profiling and/or
racial discrimination and that but for the disclosure that
Republic and MBE are minority owned businesses embarking on a
program to assist minority clients they would not have been

treated in this discriminatory manner.
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 15 of 42 PagelD: 244

STANDARD OF REVIEW FOR A MOTION TO DISMISS PURSUANT TO RULE
12 (b) (6
When considering a Motion to dismiss a claim for failure

to state claim upon which relief can be granted pursuant to
Fed. R. Civ. P. 12 (b) (6), a court must accept as true all
well-pleaded allegations in the complaint as true and view
them most favorable to the plaintiff. Evancho v. Fisher, 423
F.3d 347 (3°° Cir. 2005). It is well settled that a
pleading is sufficient if it contains “a short plain
statement of the claim showing that the pleader is entitled
to relief’. Fed. R. Civ. P. 8(a) (2). Under the liberal
federal pleading rules, it is not necessary to plead

evidence, and it is not necessary to plead all of the facts

 

that serve as the basis for the claim. Bogosian v. Gulf Oil
Corp. 562 F.2d. 434, 446 (3°% Cir. 1977). Although the

Federal Rules of Civil Procedure do not require a claimant to
set forth an intricately detailed description of the asserted
basis for relief, they do require that the pleadings give
defendant fair notice of what the plaintiff’s claim is and
the grounds upon which it rests. Baldwin County Welcome
Center v. Brown, 466 U.S. 147, 149-150 (1984).

In the case of Morse v. Lower Merion School District, 132
F.3d 902, 906 (3rd Cir. 1997), the court commented "when

considering a Rule 12(b)(6) motion, we are required to accept
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 16 of 42 PagelID: 245

as true all of the allegations in the complaint and all
reasonable inferences that can be drawn therefrom, and view
them in the light most favorable to the plaintiff." tds,
See Also, Jordan v. Fox, Rothschild, O'Brien & Frankel, 20
F.3d 1250, 1261 (3% Cir. 1994) ("In determining whether a
claim should be dismissed under Rule 12(b) (6), a court looks
only to the facts alleged in the complaint and its
attachments without reference to other parts of the record").
In sum, the Morse court stated tnat a motion to dismiss
should only be granted "if it appears to a certainty that no
relief could be granted under any set of facts which could be
proved.'" Id. (citing, D.P. Enter. Inc. v. Bucks County
Community College, 725 F.2d 943, 944 (3d Cir. 1984).

A district court, in weighing a motion to dismiss, asks
“not whether a plaintiff will ultimately prevail but whether
the claimant is entitled to offer evidence to support the
claim.” Bell Atlantic v. Twombly, 550 U.S. 554, 568 n. 8
(2007) (quoting, Scheuer v. Rhoades, 416 U.S. 232, 236
(1974)); See Also, Ashcroft v. Igbal, 556 U.S. 662, 678
(2009) “our decision in Twombly expounded the pleading
standard for all civil actions.” Thus the Supreme Court’s
Twombly formulation of the pleading standard can be summed up
by stating that a claim requires a complaint with enough

factual matter (taken as true) to suggest the required
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 17 of 42 PagelD: 246

element. This does not impose a probability requirement at
the pleading stage, but instead simply calls for enough facts

to raise a reasonable expectation that discovery will reveal

 

evidence of the necessary element. Philips v. County of
Allegheny, 515 F.3d. 224, 234 (3°? Cir. 2008) « The defendant

bears the burden of showing that no claim has been presented.
Hedges v. U.S. 404 F.3d 744, 750 (3°° Cir. 2005).

For purposes of considering a Motion to Dismiss the Court
accepts the factual allegations in the Complaint as true and
draws all inferences in the light most favorable to
plaintiff. Phillips v. Cty. of Allegheny, 515 F.3d 224, 228
(3d Cir. 2008). Furthermore, the Court also considers any
“document integral to or explicitly relied upon in the
complaint.” In re Burlington Coat Factory Secs. Litig., 114
F.3d 1410, 1426 (3d Cir. 1997) (quoting, Shaw v. Dig. Equip.
Corp., 82 F.3d 1194, 1220 (lst Cir. 1996)).

The United States Supreme Court has held that a moving
party on a motion to dismiss should only prevail where it
appears "beyond doubt that the plaintiff can prove no set of
facts in support of his claim (which) would entitle him to
relief." Conley v. Gibson, 355 U.S. 41, (45-46) (1957);

See Also, Jordan, 20 F.3d at 1261 ("a case should not be
dismissed for failure to state a claim unless it clearly

appears that no relief can be granted under any set of facts

10
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 18 of 42 PagelD: 247

that could be proved consistently with the plaintiff's
allegations.").

Based only upon the facts set forth in the complaint and
the undisputed business records as well as drawing all
reasonable inferences therefrom, plaintiff’s have stated a
claim pursuant to 42 U.S.C. § 1981, the NJLAD as well claims
for breach of contract.

LEGAL ARGUMENT

POINT I

THE PLAINTIFF’ S COMPLAINT ADEQUATELY SETS FORTH ALL OF
THE ELEMENTS REQUIRED BY 42 USC § 1981 AND THE
DISCRIMINATION CLAIM SHOULD NOT BE DISMISSED.

A. History of 42 U.S.C. § 1981

The law currently codified at 42 U.S.C. § 1981 was
originally derived from Section 1 of the Civil Rights of Act
of 1866. Garrett v. Tandy Corp., 295 F.3d 94, 98 (lst Cir.
2002). The 1866 legislation provided, in part, as follows:

Be it enacted by the Senate and House of
Representatives of the United States of America in
Congress assembled, that all persons born in the
United States and not subject to any foreign power,

are hereby declared to be citizens of the
United States; and such citizens, of every race and
color, without regard to any previous condition of
slavery or involuntary servitude...shall have the
same right, in every State and Territory in the
United States, to make and enforce contracts ...and
to full and equal benefit of all laws and
proceedings for the security of person and property,

11
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 19 of 42 PagelD: 248

as is enjoyed by white citizens. Jones v. Alfred H.

Mayer Co., 392 U.S. 409, 422 (1968) (quoting The
Civil Rights Act of 1866, Pub. L. 90284, 82 Stat.

13) %

Congress enacted The Civil Rights Act of 1866 for the
specific purpose of eradicating the badges and incidents of
slavery as directed by the Thirteenth Amendment to the United
States Constitution. Brown v. Phillip Morris, Inc., 250 F3d
789, 797 (3rd Cir. 2001) ("The legislative history of the 1866
Act makes clear Congress' intent to enact 'sweeping
legislation implementing the thirteenth amendment to abolish
all the remaining badges and vestiges of the slavery
system.") (citing, Mahone v. Waddle, 564 F.2d 1018, 1030 (3d
Cir. 1977). However, the Civil Rights Act of 1866 was not
intended to prohibit all acts of racial discrimination; but,
instead, to eliminate discrimination within the scope of the
activities set forth in the statute. See Garrett, 295 F.3d
at 98 (commenting that Section 1 of the Civil Rights Act of
1866 "now codified in 42 U.S.C. § 1981, prohibits
discrimination in certain specified activities (including the
making and enforcing of contracts").

The question of whether 42 U.S.C. § 1981 applied to

purely private conduct was first addressed by the Supreme
Court in the case of Jones v. Alfred H. Mayer Co., 392 U.S.

409, 422 (1968). In Jones, the Court unequivocally held that

12
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 20 of 42 PagelD: 249

purely private acts of discrimination may fall within the
prohibitions set forth in the statute. Id.

Specifically, in considering Section 1982, the Court
commented that "when Congress provided in § 1 of the Civil
Rights Act that the right to purchase and lease property was
to be enjoyed equally throughout the United States by Negro
and white citizens alike, it plainly meant to secure that
right against interference from any source whatever, whether

governmental or private.") Id.; See also Runyon v. McCrary,

 

427 U.S.160, 170 (1976) (Recognizing that the Jones "holding
necessarily implied that the portion of § 1 of the 1866 Act
presently codified at 42 U.S.C. § 1981 likewise reaches
purely private acts of racial discrimination.").

The Jones and Runyon decisions firmly established that
42 U.S.C. § 1981 extended to wholly private acts of racial
discrimination in the making and formation of contracts.
However, in Patterson v. McLean Credit Union, 491 U.S. 164
(1989), the Supreme Court took an exceedingly narrow view of
the protections afforded by the federal statute. Essentially,
the court held that the statute only protected the right to
make a contract and the right to legally enforce a contract,

but did not extend to racially motivated discriminatory
conduct during the performance of the contract or otherwise

arising from the contractual relationship. Id. at 177. In

13
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 21 of 42 PagelD: 250

discussing the two protections provided by the federal

statute in an employment context, the Court commented:

The first of these protections extends
only to the formation of a contract, but
not to problems that may arise later from
the conditions of continuing employment.
The statute prohibits, when based on race,
the refusal to enter into a contract with
someone, as well as the offer to make a
contract only on discriminatory terms.

But the right to make contracts does not
extend, as a matter of either logic or
semantics, to conduct by the employer
after the contract relation has been

established,

including the breach of the

terms of the contract or imposition of
discriminatory working conditions. Id. at

176-77 «

The second of these guarantees, 'the
same right to.... enforce contracts....as
is enjoyed by white citizens,' embraces

protection of a legal process, and of a
right of access to legal process, that
will address and resolve contract-law
claims without regard to race.

In sum, the Patterson Court held that 42 U.S.C. § 1981

did not provide a remedy for an African-American woman who

was the victim of racial harassment creating a hostile work

environment because such conduct did not affect the formation

of the contract or the
Id. at 179 ("This type

harassment suffered by

may be if true, is not

legal right to enforce the contract.
of conduct (referring to the racial
plaintiff), reprehensible though it

actionable under § 1981, which covers

only conduct at the initial formation of the contract and

14
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 22 of 42 PagelID: 251

conduct which impairs the right to enforce contract
obligations through legal process.").

In response to the Patterson decision, Congress enacted
the Civil Rights Act of 1991. 42 U.S.C. § 1981. The revised
Act expressly repudiated the Patterson decision and clarified
that the Act prohibited all forms of racial discrimination in
the making and formation of contracts which specifically
included "the making, performance, modification, and
termination of contracts, and the enjoyment of all benefits,
privileges, terms, and conditions of the contractual
relationship." Id.; See Also, Hampton v. Dillard Dept.
Stores, Inc., 247 F.3d 1091 (10th Cir. 2001) (Commenting that
the revised § 1981 "was a response to 'a series of recent
decisions addressing employment discrimination claims' where
"the Supreme Court cut back dramatically on the scope and
effectiveness of civil rights protections' and that the
purpose of the act is 'to respond to the Supreme Court's
recent decisions by restoring the civil rights protections
that were dramatically limited by those decisions.'") (citing
S. Rep. No. 101-315 (1990)).

The courts have recognized that the revised version of

42 U.S.C. § 1981 extends beyond the mere formation and legal
enforceability of a contract, but, instead applies to any

form of discrimination affecting the contractual

15
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 23 of 42 PagelD: 252

relationship. See, Garrett, 295 F.3d at 100 ("The 1991
expansion of the definition of 'make and enforce contracts'
in § 1981, then, extends the reach of the statute to
situations beyond the four corners of a particular contract;
the extension applies to those situations in which a
merchant, acting out of racial animus, impedes a customer's
ability to enter into, or enjoy the benefits of, a
contractual relationship."); Arguello v. Conoco, Inc., 330
F.3d 355, 360(5th Cir. 2003) ("The enactment of § 1981(b) was
an explicit rejection of Patterson, in which the Court had
refused to impose liability for discriminatory conduct
occurring after the formation of an employment contract. The
new provision displaced Patterson's understanding of § 1981

by expanding the statute's reach to 'all phases and incidents

 

of the contractual relationship.'") (citing Rivers v. Roadway
Express, Inc., 511 U.S. 298 (1994)); Callwood v.Dave &

 

Buster's, Inc., 98 F. Supp. 2d 694 (D. Md. 2000) ("The
legislative history of the Civil Rights Act of 1991 reveals
that in amending section 1981 Congress reaffirmed the view
that § 1981 is 'a critically important tool used to strike
down racially discriminatory practices in a broad variety of

contexts.'") (citing H. Rep. No. 102-40, pt. I, at 92 (1991).

16
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 24 of 42 PagelD: 253

B.. PLAINTIFFS HAVE SATISFIED THE PLEADING REQUIREMENTS IN
ORDER TO SURVIVE A 12(b) (6) MOTION TO DISMISS SINCE THE
WELL PLEADED FACTS IN THE COMPLAINT ARE SUFFICIENTLY
DETAILED TO STATE A CLAIM FOR DISCRIMINATION PURSUANT TO
42 U.S.C. § 1981.

It is well established that in order to set forth a prima
facie case under 42 U.S.C. § 1981, Plaintiff must show that
(1) they are a member of a racial minority, (2) the defendant
intended to discriminate against them on the basis of race,
and (3) the discriminatory conduct concerned "one or more of
the activities enumerated in § 1981, which includes the right
to make and enforce contracts." Brown v. Philip Morris,
Imc, 250 F3a 789, 797 (3d Cir. 2001). See Also, Estate of
Oliva ex.rel. McHugh v. New Jersey, 604 F.3d 788, 797,798 (24
Cir. 2010).

For purposes of the present motion to dismiss, the
defendants argue that the plaintiffs have not set forth
sufficient facts to sustain the burden because the plaintiffs
fail to allege that they were treated differently from other
customers.

The following facts are set forth in the plaintiff's
complaint regarding the claim of discrimination in violation
of § 1981:

Republic, MBE and Rafael Martinez, who is of

Dominican descent, also recognized that there are

shockingly few minority owned financial managers in

the services industry, and in New Jersey in
particular. Even those that did exist faced

17
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 25 of 42 PagelD: 254

numerous roadblocks due to institutional racism that
continues to permeate the financial field, tilting
the playing field substantially against white-owned
competitor funds. See Comp. € 17.

Rafael Martinez believed that by creating cash
flow vehicles for small and diverse businesses, he
could set himself, MBE and Republic apart and create
a roadmap for future minority and women owned small
and diverse businesses to gain a foothold in their
profession which has traditionally been dominated by
white men. See Comp. € 18.

In the midst of a National Pandemic, MBE was
granted approval by the U.S.S.B.A. to issue Paycheck
Protection Program Loans to a traditionally under-
represented class of small, diverse and minority
owned business. See Comp. € 9.

On or about May 20, 2020, a customer, who is a
member of a minority group, tendered a duly
authorized negotiable instrument to Bank of America
for payment from the Republic account. See Comp. €
27.

Bank of America was notified that the purpose
of the program was to assist minority, women owned
and small and diverse businesses in a time of
crisis. See Comp. € 32.

MBE and Republic are minority owned businesses.
See Comp. € 33.

Bank of America refused to honor checks or
electronic payments presented against the account of
Republic Group despite sufficient funds being
available. See Comp. € 35.

Bank of America demanded all funds be
transferred from their institution and refused to
honor checks or electronic items presented for
payment which Republic Group had issued for the

18
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 26 of 42 PagelD: 255

purpose of providing desperately needed funding to
small, diverse, women and minority businesses. See
Comp. € 37.

The discriminatory decision was based solely

upon Republic and MBE being a minority and woman

owned business whose customers are predominantly

minority and women owned businesses fueled by a

minority customer presenting a check to Bank of

America for payment. See Comp. € 39.

Contrary to the defendants assertion that the
plaintiffs have failed to set forth that they were treated
differently from others in a protected class, the plaintiffs
complaint alleges they participated in this program due to a
recognition that the financial industry and the PPP loan
program have been dominated by white males and their program
was geared toward serving a traditionally under-represented
class of minority owned businesses and individuals.

The complaint also sets facts which disclose that a
telephone conference was conducted with BofA in order to
determine the source of the problem and reason payments were
being declined despite sufficient funds in the account.

During this telephone conversation it was explained to
BofA that Republic and MBE are minority owned businesses and
their participation in the PPP program was to provide loans
to minority businesses and individuals. BofA responded that
they were ‘unable to support Republic Group’s efforts to

participate in the PPP program as an intermediary in the

distribution of PPP Loans’. BofA did not claim, nor do they

19
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 27 of 42 PagelD: 256

argue in their brief, that they could not act as an
intermediary for PPP Loans; they stated that they could not
support Republic’s efforts to participate in the PPP program.

Clearly the facts as set forth state a claim for relief
as the plaintiff’s have pled that they are a minority
owned business; the defendant, Bank of America, failed to
honor payments from the account based upon Republic’s
representation that the PPP Loans were intended for
minorities and the discriminatory conduct of declining
payments based upon the status of MBE as a minority owned
business, servicing minority customers, who were entitled to
payment as evidenced by sufficient funds in the Republic
account.

There has been no claim that Bank of America could not
participate as an intermediary in the PPP Program. In fact,
Bank of America did not argue that they could not act as an
intermediary in the PPP Program based upon some regulation or
contractual provision but instead stated they could not act
as an intermediary for ‘Republic’s efforts to participate in
the program'*’ after they were notified that Republic was a

minority owned business servicing minority businesses and

 

'The defendant’s brief inaccurately characterizes paragraph 35 of the plaintiff's complaint
as alleging an investigation following suspicious activity involving one of the accounts. There
was no suspicious activity. The account was frozen after the account was credited 100,000,000
and a minority customer presented a check for payment. There is nothing suspicious about these
activities.

20
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 28 of 42 PagelD: 257

individuals.

The United States Supreme Court has held that a
discrimination complaint need oniy contain “a short and plain
statement of the claim showing the pleader is entitled to
relief”. Swierkiewicz v. Sorema, N.A., 534 U.S. 506 (2002).
The plaintiffs submit that they have met the standard and
have set forth sufficiently detailed facts which entitle them
to relief pursuant to S 1981.

POINT If

PLAINTIFFS HAVE SATISFIED THE PLEADING REQUIREMENTS IN ORDER
TO SURVIVE A 12(b) (6) MOTION TO DISMISS SINCE THE WELL
PLEADED FACTS IN THE COMPLAINT ARE SUFFICIENTLY DETAILED TO
STATE A CLAIM UNDER THE NEW JERSEY LAW AGAINST
DISCRIMINATION.

The defendants argue that for the same reasons plaintiffs
have failed to set forth a claim for relief pursuant to
§ 1981 the plaintiffs have also failed to set forth a claim
for relief under the New Jersey Law Against Discrimination.
They argument is premised on the assumption that the NJLAD is
substantively identical to 41 U.S.C. § 1981. This
assumption, as will be shown, is incorrect.

The NJLAD provides, in pertinent part, that:

It shall constitute unlawful discrimination:

For any owner, lessees, proprietor, manager,
superintendent, agent, or employee of any place of
public accommodation directly or indirectly to
refuse, withhold from or deny to any person any of

21
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 29 of 42 PagelD: 258

the accommodations, advantages, facilities or

privileges thereof, or to discriminate against any
person in the furnishing thereof...N.J.S.A. 10:5-1.

New Jersey courts have recognized that the purpose of the

NJLAD is “nothing less than the eradication ‘of the cancer of

discrimination. Lehman v. Toys R Us, Inc., 132 N.J. 587

 

(1993). Further, the NJLAD is intended to be interpreted
liberally in order to achieve its goals. Franek v. Tomahwk
Lake Resort, 333 N.J. Super. 206 (App. Div. 2000). It is

well established that the NJLAD is intended to be New
Jersey’s remedy for unacceptable discrimination and is to be
construed liberally.

In interpreting New Jersey’s anti-discrimination laws, it
is true that some courts have looked to federal law for
guidance. See, Turner v. Wong, 363 N.J. Super. 186, 210
(App. Div. 2003) (“In interpreting the LAD, the federal law
has consistently been considered for guidance.”); Payton v.
New Jersey Turnpike Authority, 148 N.J. 524, 538 (1997)
(“Federal Jurisprudence...is particularly relevant because
the LAD draws significantly from federal anti-discrimination
laws”).

However, it is widely recognized that the NJLAD is
substantively different and broader anti-discrimination
statute than it’s federal counterpart. In L.W. v. Toms River

Reg. School Bd., 381 N.J.Super. 465, 489 (App.Div. 2005), the

pe:
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 30 of 42 PagelD: 259

court recognized that although federal legislation may not
provide a remedy in a particular case, this fact is not
relevant to the LAD, which provides a full range of legal and
equitable remedies for unlawful discrimination, not only in
the workplace but also in respect to public accommodations.
See Also, Bergen Commercial Bank v. Sisler, 157 N.J. 188
(1999), holding that ‘to the extent the federal standards are
useful and fair, they will be applied in the interest of
achieving a degree of uniformity in the discrimination
laws...however, where a provision of the LAD differs
substantively from federal law, a court must conduct its own
analysis in order to discern the underlying legislative
intent.

Significantly, New Jersey courts have recognized that the
NJLAD provides far greater anti-discrimination protections
beyond the outright denial of services on the basis of race.
The Turner court explained:

The LAD is not limited to outright denial

of access of service. As noted, it also renders

unlawful any acts discriminating against any person

in the furnishing of public accommodation...The

Statutory protection has been interpreted to reach

Situations where customers are merely discouraged

from using a public facility because of the verbal

comments made to them about their protected status.
Turner 363 N.J.Super at 212.

The focal issue is whether defendant acted with actual or

apparent design to discourage present or future use of the

23
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 31 of 42 PagelD: 260

public accommodation by plaintiff on account of their
protected status. Turner at 213.

In sum, the NJLAD is indisputably a substantively
different and broader anti-discrimination statute than 42
U.S.C. § 1981. It would be improper to dismiss the
plaintiffs claims under the NJLAD based upon the defendants
unsupported argument that a dismissal of plaintiff’s § 1981
claims also requires a dismissal of the NJLAD claims.

POINT IIT

PLAINTIFFS HAVE SATISFIED THE PLEADING REQUIREMENTS IN ORDER
TO SURVIVE A 12(b) (6) MOTION TO DISMISS SINCE THE WELL
PLEADED FACTS IN THE COMPLAINT ARE SUFFICIENTLY DETAILED TO
STATE A CLAIM FOR RETALIATION UNDER 42 U.S.C. § 1981
The defendants argue that plaintiff’s have failed to
adequately allege that plaintiffs engage in any protected
conduct contesting racial discrimination, much less that BofA
retaliated against plaintiffs for protected conduct.

As set forth at length herein, the plaintiffs submit that
they have set forth sufficient facts to sustain a claim for
discrimination in violation of § 1981.

To prevail, a § 1981 retaliation plaintiff must present

evidence showing (1) they engaged in protected activity, (2)

defendant took an adverse action against them, and (3) a
causal connection between the protected activity and the

adverse action. Moore v. City of Philadelphia, 461 F. 3d

24
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 32 of 42 PagelD: 261

331, 341 (3d Cir. 2006); Oliva, 604 F.3d at 798; Cardenas v.
Massey, 269 F.3d 251, 263 (3d Cir. 2001).

The defendant can rebut the prima facie case by asserting
a legitimate, nondiscriminatory reason for the adverse
action. Quiroga v. Hasbro, Inc., 934 F.2d 497, 501 (3d Cir.
1991). The burden then shifts back to the plaintiff to show
by a preponderance of the evidence that the reasons offered
by the defendant are merely a pretext for discrimination. See
Also, Waddell v. Small Tube Prod. Inc., 799 F.2d 69, 73 (3d
Cis. 1986) .

At this stage of the proceeding, the plaintiff is not
required to make a prima facie showing. The question before
the court is whether the plaintiffs complaint has set forth
sufficient facts to withstand the Motion to dismiss.

Protected activity under § 1981 includes opposing
unlawful race discrimination in the making or enforcement of
contracts, as those terms are defined by 42 U.S.C. §1981l(a),
and also opposing actions plaintiff reasonably believes to be
§ 1981 violations. Boyer-Liberto v. Fontainebleau Corp., 786
F.3d 264, 282 (4th Cir. 2015) (enbanc).

The Supreme Court has defined “oppose” in this context to
include, inter alia: “..to be hostile or adverse to, as in
opinion.” Crawford v. Metro Gov’t of Nashville & Davidson

Cnty Ténn., S05 U.S. 271, 276 (2009).

25
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 33 of 42 PagelD: 262

This broad definition led the Court to conclude the
threshold for oppositional conduct is not onerous. Instead,
communication of a belief that an action is a form of race
discrimination almost always constitutes opposition to the
activity. See Id., 555 U.S. at 276.

No hard and fast rule defines whether conduct in a given
case is protected. Curay-Cramer v. Ursuline Academy, 450 F.3d
130, 135 (3d Cir. 2006), Rather, “[w]hen deciding whether a
plaintiff has engaged in opposition conduct, [the Court
looks] to the message being conveyed rather than the means of
conveyance.” Id. Specifically, the question is whether it is
possible to discern from the context of the statement that
the employee opposes race discrimination. Curay-Cramer, 450
F.3d at 135; See Also, EEOC v. Crown Zellerbach Corp., 720
F,2a 1008, 1012-13 (9th Cir. 1983).

Thus, opposition may take many forms including protesting
against discrimination by industry, or by society in general.
Barber v. CSX Distribution Services, 68 F.3d 694, 702 (3d
Cir. 1995); Neiderlander v. American Video Glass Co., 80 Fed.
Appx. 256, 260 (3d Cir. Nov. 5, 2003) (emphasis added),
citing, Sumner v. United States Postal Service, 899 F.2d 203,
209 (2d Cir. 1990).

“Protected activity” under § 1981 is not limited to

employment discrimination. See, CBOCS West, Inc. V.

26
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 34 of 42 PagelD: 263

Humphries, 553 U.S. 442, 451-52 (2008). Rather, the
protected activity under § 1981 need only relate to
discrimination prohibited by that statute-that is,
discrimination because of race. CBOCS, 553 U.S. at 451-52;
Hawkins v. 1115 Legal Serv. Care, 163 F.3d 684, 693 (2d Cir.
1998).

The discrimination opposed need not specifically involve
the plaintiff. Indeed, this Court’s Model Jury Instructions
clarify that § 1981 retaliation claims encompass protesting
the violation of “someone else’s right to be free from racial
discrimination.” Third Circuit Model Civil Jury Instructions
§ 6.1.6 [Alternative Two]; Moore, 461 F.3d at 342.

In the present matter, the plaintiff has alleged the
following facts in the complaint:

On or about May 20, 2020, a customer, who was a
member of a minority group, tendered a duly

authorized negotiable instrument to Bank of America

for payment which was issued from the Republic
Account. See Comp. € 27.

A telephone conference ensued between members
of Republic, MBE, and CFO, Carra Wallace and various
representatives of Bank of America where Bank of
America was notified that the purpose of the program
was to assist minority, women owned and small and

diverse businesses in a time of crisis. See Comp. €
31 & 32.

Bank of America refused to honor checks or
electronic payments and was ‘unable to support
Republic Groups’s efforts to participate in the PPP
program as an intermediary in the distribution of

20
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 35 of 42 PagelD: 264

PPP Loans.” See Comp. € 35.

Bank of America refused to honor checks or
electronic items presented for payment which
Republic Group had issued for the purpose of
providing desperately needed funding to minority
businesses. See Comp. € 36.

Rafael Martinez forwarded written notice to
Bank of America that he understood Bank of America’s
perceived issues but wished to maintain his personal
and family accounts with Bank of America. See Comp.
€ 37.

Bank of America never provided a legitimate,
lawful or non-discriminatory reason for its refusal
to honor checks or electronic payments issued by
Republic in connection with the PPP Loan Program.
The discriminatory decision was based solely upon
Republic and MBE being a minority and woman owned
business whose customers are predominantly minority
and woman owned businesses fueled by a minority
customer presenting a check to Bank of America for
payment. See Comp. € 39.

On August 3, 2020 and August 10, 2020, Merrill
and Bank of America sent notice to Republic, Rafael
Martinez, Chelsea Martinez and Reaching New Heights
that they accounts were being frozen in 21 days and
closed in 30 days. See Comp. € 41-45.

The refusal of Bank of America to provide any
reason or support for the initial refusal to honor
payments issued by Republic and MBE as well as the
subsequent retaliatory actions taken by Bank of
America and Merrill against Rafael Martinez, Chelsea
Martinez, Republic, MBE and Reaching New Heights
demonstrates the venom of these officials and
confirms their discriminatory and retaliatory animus
towards minority and women owned businesses whose
management had the nerve to seek to defend its civil
and contractual rights. See Comp. € 46.

28
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 36 of 42 PagelID: 265

The exploitation and retaliation against
Republic and the Martinez family reveals that racial
discrimination occurs even at the pinnacle of
success and industries such as financial services.

See Comp. € 47.

The plaintiffs complaint clearly sets forth sufficient
facts to place the defendants on the notice that the
plaintiffs are alleging they protested the discriminatory
actions of Bank of America. It was explained that the PPP
program which Martinez and Republic launched was intended to
provide minority customers with PPP Loans. The telephone
conference can reasonably be construed as a protest of Bank
of America’s actions in refusing to honor a check of a
minority customer and accusing a minority client of fraud.

In retaliation for the protected activity Bank of America
required Republic to transfer all funds set aside for
minority loans. Thereafter, Merrill and Bank of America
closed the business and personal accounts of Rafael Martinez
and Chelsea Martinez for no legitimate reason. Chelsea
Martinez had absolutely no contact with Bank of America and
Merrill prior to receiving notice her accounts were being
closed. Chelsea Martinez is an Officer of Republic and MBE
and a black woman of Dominican descent. She had no
involvement with Bank of America or Merrill and her accounts
were never used for any unlawful purpose. It is clear that

the BofA defendants closed her accounts as a direct response

29
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 37 of 42 PagelD: 266

to Rafael Martinez and Carra Wallace voicing concern about
the treatment of a customer as well as BofA’s claim that they
would not participate in Republic’s efforts to distribute PPP
Loans to minority businesses and individuals.

The plaintiffs have satisfied the pleading requirement
through the facts which allege BofA was notified that a
minority customer was treated poorly when he presented a
check at a BofA branch, Republic and MBE are minority owned
businesses engaged as a non-banking activities intended to
provide loans to desperately needed minority businesses and
individuals during a national crises. The defendants took
adverse action against the plaintiffs in refusing to honor
checks and payments from the Republic account despite
sufficient funds in the account because BofA would not
support Republic’s efforts to assist minorities and minority
businesses. Thereafter, BofA took further adverse action
against all plaintiffs based upon their minority status and
their efforts to assist minority groups by the act of closing
all of their accounts for no legitimate reason.

The complaint sets forth sufficient facts under the
totality of the circumstances, as a play cannot be understood
on the basis of some of its scenes, but only on its entire
performance, and, similarly, a discrimination analysis must

concentrate not on individual incidents, but on the overall

30
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 38 of 42 PagelD: 267

scenario. Moore, 461 F.3d at 346, citing, Andrews v. CLEY
of Philadelphia, 895 F.2d 1469, 1484 (3d Cir. 1990).

The Motion to dismiss plaintiffs claim of Retaliation in
violation of § 1981 should be denied.

POINT IV

THE PLAINTIFFS HAVE ADEQUATELY PLEADED A CLAIM FOR BREACH OF
CONTRACT.

Defendants argue that plaintiffs breach of contract claim
should be dismissed because it does not specifically identify
the provisions of the contract allegedly breached. Causes of
action for breach of contract fall into two categories: (1).
Violation of express terms of the contract; and/or (2).
Violation of the implied covenant of good faith and fair
dealing. Sons of Thunder v. Borden, Inc., 148 N.J. 396, 420
(1997). Plaintiffs have pleaded both.

The plaintiff has pleaded a breach of the banking
agreement based upon the banking agreement. The banking
Agreement provides that an account may closed or frozen if
BofA believes that the account may be subject to irregular,
unauthorized, fraudulent or illegal activity. The
plaintiffs were not accused of, nor did they violate, any
terms of the banking agreement. The notices sent to
Republic, Rafael Martinez, Chelsea Martinez and Reaching New

Heights regarding the account closures provide no reason and

31
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 39 of 42 PagelD: 268

were sent long after the issues regarding the PPP Loans were
resolved and the PPP funds were transferred out of the
Republic Account. All of these accounts were frozen and
closed without providing any explanation. Similarly, Chelsea
Martinez’s account with Merrill was never questioned or
investigated, it was simply closed.

Accordingly, the plaintiffs have properly pled breach of
the banking agreement.

An action for breach of the implied covenant of good
faith and fair dealing permits ‘redress for the bad faith
performance of an agreement even when the defendant has not
breached any express terms. Seidenberg v. Summit Bank, 348
N.J. Super. 243, 257 (App.Div. 2002). The covenant provides
that neither party shall do anything which will have the
effect of destroying or injuring the right of the other party
to receive the fruits of the contract. Id. A breach of
this covenant may be found even if no express term of the
contract is violated. Brunswick Hills Raguet Club, Inc. v.
Route 18 Shopping Center Assoc., 182 N.J. 210, 226 (2005).
The defendants claim that there can no breach because they
acted within the express terms of the Borrower Agreement.

As a general principle, there can be no breach of the implied
promise or covenant of good faith and fair dealing where the

contract expressly permits the actions being challenged, and

32
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 40 of 42 PagelD: 269

the defendant acts in accordance with the express terms of
the contract. 23 Williston on Contracts § 63:22 (4th ed.).
The court in In re Checking Account Overdraft Litigation, 694
F.Supp.2d 1302 (S.D.Fla.2010) heid that plaintiffs did not
want to change the terms of the contract, but instead wanted
defendants to reasonably exercise their contractual
discretion. Id. at 1315 (citing Amoco Prod. Co. v. Heimann,
904 F.2d 1405, 1411-12 (10th Cir.1990)) (where discretion
exists in one of two parties to a contract, that discretion
must be exercised in good faith). As a result, the District
Court denied the motion to dismiss on the claim for a breach
of the covenant of good faith and fair dealing. See Also,
Hughes v. T.D. Bank, N.A. 856 F.Supp.2d 673 (D.N.J. 2012).

In the present matter, the plaintiffs do not seek to
vary express terms of the contract, but allege that BofA
failed to exercise its contractual discretion reasonably and
in fact had a discriminatory intent. Plaintiffs allege that
defendants closed the accounts with malice and a result of
discriminatory and unconscionable conduct toward the
plaintiffs.

For all of these reasons, the plaintiffs have stated a
claim for breach of contract and breach of the implied

covenant of good faith and fair dealing.

a3
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 41 of 42 PagelD: 270

POINT V

THE PLAINTIFFS CONSENT TO THE VOLUNTARY DISMISSAL OF COUNT
FOUR OF THE COMPLAINT AND SHOULD BE PERMITTED TO AMEND THE
COMPLAINT TO CONFORM WITH THE PLEADING REQUIREMENT AS
NECESSARY

The plaintiffs acknowledge that Count Four alleging
violation of the New Jersey Civil Rights Act does not apply
to the defendants because they did not act under color of
law’. Accordingly the plaintiffs consent to the dismissal of
count four of the complaint.

Additionally, the Third Circuit precedent supports the
notion that in civil rights cases District Courts must offer
amendments, irrespective of whether it is requested, when
dismissing a case for failure to state a claim unless doing

so would be inequitable or futile. Fletcher-Harlee Corp. V.

 

*While is acknowledged that the defendants are not state actors and did not act under the
color of State Law, Senate Democrats introduced a bill in October 2020 that would prohibit
discrimination against customers in the financial services industry — legislation they say would
strengthen the Civil Rights Act of 1964, which does not cover the banking industry.

The Fair Access to Financial Services Act would make it illegal for banks or any financial
institution to deny services based on race, color, religion, national origin, sexual orientation and
"This new legislation would ensure that all people receive equal treatment when trying to access
services at financial institutions and hold them accountable when they engage in discriminatory
acts," the senators wrote.

The senators said the bill is a direct response to reports, including in The New York
Times in June, of discrimination experienced by Black and Brown people at banks such as Wells

Fargo, Bank of America and JPMorgan Chase.
The Times article included accounts from Black people who said they were turned away

or accused of fraud while trying to make simple transactions, such as to cash a check or withdraw
funds.

34
Case 2:20-cv-12081-SDW-LDW Document 22 Filed 12/07/20 Page 42 of 42 PagelID: 271

Pote Concrete Contractors, Inc. 482 F.3d 251 (3°¢ Cir. 2007).
The plaintiffs submit that in the event the court finds the
plaintiffs complaint does not allege sufficient facts to
state a claim upon which relief may be granted, the
plaintiffs should be afforded the opportunity to amend and

correct the pleading.

CONCLUSION
For all of the reasons set forth herein, the plaintiffs
submit that the complaint alleges sufficient facts upon which
relief may be granted.

Dated: December 7, 2020

 

as ‘\)
SVR va

Law Offices of Shannon Garrahan, P.C.
2 Forest Avenue-Second Floor

Oradell, New Jersey 07649

(201) 909-0700

35
